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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 AMERICAN ASSOCIATION OF                              §
 COSMETOLOGY SCHOOLS et al.,                          §
                                                      §
      Plaintiffs,                                     §
                                                      §
 v.                                                   §       Civil Action No. 4:23-cv-01267-O
                                                      §
 UNITED STATES DEPARTMENT OF                          §
 EDUCATION, et al.,                                   §
   Defendants.                                        §

                                               ORDER

         The parties move to modify the default briefing schedule in Local Rule 7.1(e) and (f), as it

relates to Defendants’ pending motion to strike (ECF 36), with a schedule that places Plaintiffs’

deadline to respond on December 20, 2024 and places Defendants’ deadline to reply on January

31, 2025. The parties agree to this relief and jointly request it.

         Having considered the Motion, and for good cause shown, the Joint Motion to Modify

Briefing Schedule on Defendants’ Motion to Strike is GRANTED. It is further ORDERED that

the American Association of Cosmetology Schools and DuVall’s School of Cosmetology, L.L.C.

may respond to the motion to strike on or before December 20, 2024, and the United States

Department of Education and Secretary of Education Miguel Cardona may file a reply in support

of the motion to strike on or before January 31, 2025.

         SO ORDERED this 27th day of November, 2024.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
